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 Fill in this information to identify your case:

 Debtor 1                 Duane Thomas Edmonds
                          First Name                        Middle Name              Last Name

 Debtor 2
 (Spouse if, filing)      First Name                        Middle Name              Last Name


 United States Bankruptcy Court for the:              EASTERN DISTRICT OF VIRGINIA

 Case number           19-50710
 (if known)
                                                                                                                         Check if this is an
                                                                                                                         amended filing



Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                            12/15


If you are an individual filing under chapter 7, you must fill out this form if:
    creditors have claims secured by your property, or
  you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
        whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list
        on the form

If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must
         sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
        write your name and case number (if known).

 Part 1:        List Your Creditors Who Have Secured Claims

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
   information below.
    Identify the creditor and the property that is collateral  What do you intend to do with the property that    Did you claim the property
                                                               secures a debt?                                    as exempt on Schedule C?



    Creditor's         Capital One Auto Finance                             Surrender the property.                     No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a        Yes
    Description of       2008 BMW 535i                                      Reaffirmation Agreement.
    property                                                                Retain the property and [explain]:
    securing debt:



    Creditor's         Carrington Mortgage Svs LLC                          Surrender the property.                     No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a        Yes
    Description of 3 Herring Place Hampton, VA                              Reaffirmation Agreement.
    property       23666 Hampton City County                                Retain the property and [explain]:
    securing debt: Residence
                   Legal Description: WESTVIEW
                   LAKES 4B PHASE 1 L14.
                   Parcel/Tax ID No: 5000578                              MAKE PAYMENTS



    Creditor's         Franklin Credit Management Cor                       Surrender the property.                     No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a        Yes

Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                          page 1

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 Debtor 1      Duane Thomas Edmonds                                                                   Case number (if known)    19-50710

     Description of 3 Herring Place Hampton, VA                              Reaffirmation Agreement.
     property       23666 Hampton City County                               Retain the property and [explain]:
     securing debt: Residence
                    Legal Description: WESTVIEW
                    LAKES 4B PHASE 1 L14.
                    Parcel/Tax ID No: 5000578                             Try to work out Loan Modification



     Creditor's    Langley Federal Credit Union                             Surrender the property.                                     No
     name:                                                                  Retain the property and redeem it.
                                                                            Retain the property and enter into a                        Yes
     Description of     2015 Honda Accord                                   Reaffirmation Agreement.
     property                                                               Retain the property and [explain]:
     securing debt:

 Part 2:   List Your Unexpired Personal Property Leases
For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill
in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended.
You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

 Describe your unexpired personal property leases                                                                              Will the lease be assumed?

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes

 Part 3:     Sign Below

Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal
property that is subject to an unexpired lease.

 X     /s/ Duane Thomas Edmonds                                                     X
       Duane Thomas Edmonds                                                             Signature of Debtor 2



Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                                      page 2

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 Debtor 1      Duane Thomas Edmonds                                                                  Case number (if known)   19-50710

       Signature of Debtor 1

       Date        May 23, 2019                                                     Date




Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                               page 3

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                                                               United States Bankruptcy Court
                                                                     Eastern District of Virginia
 In re      Duane Thomas Edmonds                                                                             Case No.   19-50710
                                                                                  Debtor(s)                  Chapter    7



                                                   AMENDMENT COVER SHEET
Amendment(s) to the following petition, list(s), schedule(s) or statement(s) are transmitted herewith:
                Involuntary/Voluntary Petition [Specify reason for amendment:            ]
                Check if applicable:     Soc. Sec. No. amended. [If applicable: An original, signed Official Form 121 was
                mailed/hand-delivered to the Clerk's office on             .*]
                Summary of Your Assets and Liabilities (and Certain Statistical Information - Individuals Only)
                Declaration (Individuals - Form 106Dec) (Non-Individuals - Form 202)
                Schedule A/B – Property
                Schedule C – The Property You Claim as Exempt
                Schedule D – Creditors Who Hold Claims Secured by Property (See LBR 1009-1)
                Schedule E/F – Creditors Who Have Unsecured Claims (See LBR 1009-1)
                Schedule E/F Creditors Who Have Unsecured Claims (See LBR 1009-1)
                 ($31.00 fee required if adding or deleting pre-petition creditors, changing amounts owed or classification of
                debt.) Check applicable statement(s):
                        Creditor(s) added                            Creditor(s) deleted
                        Change in amounts owed or classification of debt
                        No pre-petition creditors added/deleted, or amounts owed or classification of debt changed. [Docket:
                        Amended Schedule(s) and/or Statement(s), List(s)-NO FEE)
                        Post-petition creditors added (Schedule of Unpaid Debts)
                REMINDER: Conversion of Chapter 13 to Chapter 7 - only file Schedule of Unpaid Debts.
                Schedule G – Executory Contracts and Unexpired Leases
                Schedule H – Codebtors
                Schedule I – Your Income
                Schedule J – Your Expenses

[NOTE: The form “NOTICE TO CREDITOR(S) (RE AMENDMENT)” is still required when adding or deleting creditors.
*Amendment of debtor(s) Social Security Number requires that this cover sheet together with a completed Official Form 121 –
Statement About Your Social Security Numbers be electronically filed or submitted to the Clerk’s Office for “restricted”
entry of the amended Social Security Number into the case record.]
             Statement of Financial Affairs
             Statement of Intention for Individuals Filing Under Chapter 7
             Chapter 11 List of Equity Security Holders
             Chapter 11: The List of Creditors Who Have the 20 Largest Unsecured Claims Against You Who Are Not Insiders
             Attorney’s Disclosure of Compensation
             Other:
                                  NOTICE OF AMENDMENT(S) TO AFFECTED PARTIES
Pursuant to Federal Rule of Bankruptcy Procedure 1009(a) and Local Rule 1009-1, I certify that notice of the filing of the
amendment(s) checked above has been given this date to the United States Trustee, the trustee in this case, and to any and all entities
affected by the amendment as follows: Langley Federal Credit Union .
 Date: May 24, 2019
                                                                       /s/ Carolyn Bedi
                                                                       Carolyn Bedi
                                                                       Attorney for Debtor(s) [or Pro Se Debtor(s)]
                                                                       State Bar No.:    90545 VA
                                                                       Mailing Address: Bedi Legal, P.C.
                                                                                          501 Independence Pkwy., Ste 102
                                                                                          Chesapeake, VA 23320
                                                                       Telephone No.:     757-222-5842



[amendcs ver. 12/16]

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I, Duane Thomas Edmonds certify under penalty of perjury that the amended forms herein are accurate and true to the best of my
knowledge and belief.

 Date: May 23, 2019                                            /s/ Duane Thomas Edmonds




[amendcs ver. 12/16]

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